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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                   )
                                                   )
THOMAS A. SIMONIAN,                                )
                                                   )
                       Plaintiff,                  )
                                                   )         Hon. Samuel Der-Yeghiayan
                                                   )
               v.                                  )
                                                   )         Civil Action No. 10-CV-01306
CISCO SYSTEMS, INC. and SCIENTIFIC-                )
ATLANTA, LLC,                                      )
                                                   )
                                                   )
                       Defendants.                 )


                                STIPULATION OF DISMISSAL


        Plaintiff Thomas A. Simonian ("Simonian") and Defendants Scientific-Atlanta, LLC and

Cisco Systems, Inc. ("Defendants") file this Stipulation of Dismissal under Fed. R. Civ. P.

41(a)(1)(A)(ii). Simonian and Defendants stipulate that:

       1.      Simonian and Defendants have agreed to settle their disputes in this action.

       2.      Simonian consents to dismissal with prejudice of all of its claims in this action

and claims it could have brought in this action.

       3.      Simonian and Defendants shall each bear their own attorneys' fees and costs

incurred in connection with this action.
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DATED: December 21, 2010



Respectfully submitted,



/s/ Robert D. Cheifetz                          /s/ David A. Nelson
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                                                Attorneys for Defendants Cisco Systems, Inc.
Attorneys for Plaintiff Thomas A. Simonian
                                                and Scientific-Atlanta, LLC




                               CERTIFICATE OF SERVICE

        I hereby certify that on the 21st day of December, 2010, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing to all counsel of record.

                                             /s/ Robert D. Cheifetz_______________________
                                             Robert D. Cheifetz
